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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


                                                               MDL No. 2804
    IN RE: NATIONAL PRESCRIPTION OPIATE
    LITIGATION                                                 Case No. 1:17-md-2804

    This document relates to:                                  Judge Dan Aaron Polster

       The cases listed on Appendix A
                                                               SETTLING DISTRIBUTORS’
                                                               REQUEST FOR SEVERANCE
                                                               AND ENTRY OF FINAL
                                                               JUDGMENT


          Defendants McKesson Corporation, AmerisourceBergen Corporation, and Cardinal

Health, Inc., together with their Released Entities1 (collectively, “Settling Distributors”), submit

this Request for Severance and Entry of Final Judgment in all pending cases in which the

Settling Distributors have been dismissed with prejudice pursuant to the Distributor Settlement.

          Pursuant to the terms of the July 21, 2021 Distributor Settlement, this Court to date has

entered orders dismissing Settling Distributors from approximately 2,100 cases. A list of those

cases is attached as Appendix A hereto. The vast majority of those cases remain pending as to

other named defendants.

          On April 26, 2022, the Court expressed its intent to address pending remand motions in

the MDL in “in tranches, starting with the oldest filings.” Dkt. No. 4389. To that end, the Court

set a schedule for supplemental briefing on remand in the first tranche of 20 cases, which


1
  The Released Entities are each and every entity of any of the Settling Distributors that is a
“Released Entity” as set forth in Section I.HHH and Exhibit J of the Distributor Settlement
Agreement, dated as of March 10, 2022. Exhibit 1, attached hereto, represents a good faith effort
by the Settling Distributors to list all Released Entities that may be individually named in any of
the complaints dismissed pursuant to the Distributor Settlement. Exhibit 1 is not intended to limit
the scope of the Releases or Released Entities.
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concluded on May 24, 2022. Id. On May 12, 2022, the Court remanded three cases in which

Defendants had elected not to oppose remand. On June 8, 2022, the Court denied the motions to

remand in the remaining 17 cases in the first tranche, and ordered that the parties file a joint

notice based on the Court’s ruling within 45 days, identifying all cases with pending remand

motions that have not yet been resolved by the Court’s rulings. Dkt. No. 4502.

       In light of the Distributor Settlement and the orders of dismissal in this Court, it is neither

necessary nor appropriate for claims against the Settling Distributors in any settled cases to be

remanded to state court, irrespective of the Court’s decision on pending remand motions.

Accordingly, Settling Distributors hereby request that (1) pursuant to Federal Rule of Civil

Procedure 21, the Court sever them from any pending action in which they have been dismissed

pursuant to the Distributor Settlement, and (2) pursuant to Federal Rule of Civil Procedure 54(b),

enter partial final judgment in favor of the Settling Distributors. A proposed order is attached

hereto as Appendix B.
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